     Case: 1:17-md-02804 Doc #: 2594 Filed: 09/12/19 1 of 3. PageID #: 413658




                            81,7('67$7(6',675,&7&2857
                             1257+(51',675,&72)2+,2
                                  ($67(51',9,6,21

,15(1$7,21$/35(6&5,37,21                           &$6(120'
23,$7(/,7,*$7,21
                                                      -8'*(32/67(5
7+,6'2&80(175(/$7(672
³Track One Cases´
                                                      25'(55(*$5',1*
                                                      75,$/0$77(56


       6RWKDWWKHSDUWLHVPD\EHWWHUSODQIRUWKHXSFRPLQJWULDOWKH&RXUWVHWVRXWEHORZVHYHUDO

PDWWHUVUHJDUGLQJWULDOSURFHGXUH

      9RLU'LUH4XHVWLRQLQJ7KH&RXUWZLOOFRQGXFWLQLWLDOYRLUGLUHTXHVWLRQLQJRIWKHMXU\
       YHQLUH7KH&RXUWPD\DVNVSHFLILFTXHVWLRQVSURSRVHGE\WKHSDUWLHVsee Trial Order DW
        GRFNHWQR  GLUHFWLQJWKHSDUWLHVWRILOHSURSRVHGTXHVWLRQVIRUWKH&RXUW¶VYRLUGLUH 
       3ODLQWLIIVDVDJURXSDQG'HIHQGDQWVDVDJURXSZLOOWKHQHDFKEHDOORZHGDSSUR[LPDWHO\
       PLQXWHVWRHQJDJHLQnon-argumentative IROORZXSTXHVWLRQLQJ

      3HUHPSWRU\FKDOOHQJHV$WYRLUGLUHWKHQXPEHURISHUHPSWRU\FKDOOHQJHVWKDWPD\EH
       H[HUFLVHGE\GHIHQGDQWVDVDJURXSZLOOEHHTXDOWRWKHQXPEHURILQGLYLGXDOGHIHQGDQWVDW
       WULDOEXWQROHVVWKDQWKUHH7KXVLIWKHUHDUHVHYHQGHIHQGDQWVDWWULDOWKHQGHIHQGDQWVDV
       DJURXSZLOOEHHQWLWOHGWRVHYHQSHUHPSWRU\FKDOOHQJHVDQGLIWKHUHDUHWZRGHIHQGDQWVDW
       WULDOWKHQGHIHQGDQWVDVDJURXSZLOOEHHQWLWOHGWRWKUHHSHUHPSWRU\FKDOOHQJHV3ODLQWLIIV
       DVDJURXSZLOOUHFHLYHWKHVDPHQXPEHURISHUHPSWRU\FKDOOHQJHVDVGHIHQGDQWV

      %DFN6WULNHV$WYRLUGLUHEDFNVWULNHVDUHDOORZHG$VDQH[DPSOHSODLQWLIIVPD\XVHD
       SHUHPSWRU\VWULNHRQYHQLUHPHPEHUGHIHQGDQWVPD\WKHQXVHDSHUHPSWRU\VWULNHRQ
       YHQLUHPHPEHUDQGSODLQWLIIVPD\WKHQ³JREDFN´DQGXVHDSHUHPSWRU\VWULNHRQYHQLUH
       PHPEHU
      7ULDO7LPH3ODLQWLIIVDQGGHIHQGDQWVZLOOVSOLWWULDOWLPH7KLVDPRXQWVWRDERXW

       
        See In re Welding Fume Prod. Liab. Litig.:/DW  1'2KLR-XQH
  GLVFXVVLQJVHYHUDORIWKHVHWRSLFVLQPRUHGHWDLO 
     Case: 1:17-md-02804 Doc #: 2594 Filed: 09/12/19 2 of 3. PageID #: 413659




       KRXUVRIWLPHIRUSUHVHQWDWLRQRIHYLGHQFHIRUHDFKVLGH QRWLQFOXGLQJYRLUGLUHRSHQLQJ
       VWDWHPHQWVRUFORVLQJDUJXPHQWV 7KH&RXUWZLOONHHSD³FKHVVFORFN´DQGWHOOSDUWLHVZKDW
       WKHLUWLPHFRXQWLVDWWKHHQGRIHDFKGD\

      :LWQHVV ,QWURGXFWLRQ  7KH &RXUW ZLOO SHUPLW FRXQVHO WR JLYH D YHU\ VKRUW
       QRQDUJXPHQWDWLYHLQWURGXFWLRQRIHDFKZLWQHVVDQGWKHLUUROHLQWKHOLWLJDWLRQWRSURYLGH
       FRQWH[WWRWKHMXURUV

      1RWH7DNLQJ7KH&RXUWZLOODOORZMXURUVWRWDNHQRWHVGXULQJWULDO

      -XURU 4XHVWLRQV7KH &RXUW ZLOODOORZVMXURUVWRDVNTXHVWLRQVGXULQJWULDOXVLQJ WKH
       IROORZLQJSURFHGXUH-XURUVPD\VXEPLWZULWWHQTXHVWLRQVWRWKH&RXUW7KH&RXUWZLOOWKHQ
       JLYHWKHPWRFRXQVHOZKRZLOOGHFLGHZKHWKHUWRDVNWKHTXHVWLRQVDQGLIVRZKRZLOODVN
       WKHP

      :LWQHVVDQG([KLELW'LVFORVXUH(DFKGD\FRXQVHOPXVWGLVFORVHWRWKHRWKHUVLGHWKH
       ZLWQHVVHVWKH\LQWHQGWRFDOODQGWKHGHPRQVWUDWLYHH[KLELWVWKH\LQWHQGWRXVHGXULQJWKH
       QH[WWULDOGD\$WWKHHQGRIHDFKZHHNFRXQVHOPXVWJLYHWKHRWKHUVLGHDOLVWRIZLWQHVVHV
       WKH\H[SHFWZLOOEHFDOOHGWKHIROORZLQJZHHN

      9LGHR'HSRVLWLRQV$SDUW\ZLVKLQJWRSUHVHQWYLGHRWDSHGGHSRVLWLRQRIDIDFWZLWQHVVLQ
       LWVFDVHLQFKLHIPXVWVKRZWRWKHMXU\DOODWRQFHall RIWKHGHVLJQDWHGSRUWLRQVRIWKH
       YLGHRWDSHGGHSRVLWLRQLQFOXGLQJWKRVHGHVLJQDWHGE\WKHRSSRVLQJSDUW\7KHRQO\WZR
       H[FHSWLRQVWRWKLVUXOHDUH  LIRQHSDUW\¶VGHVLJQDWLRQVDUHYHU\VKRUWDQGWKHRWKHUSDUW\¶V
       GHVLJQDWLRQVDUHPXFKORQJHUWKH&RXUWPD\DOORZWKHILUVWSDUW\WRSUHVHQWRQO\WKHVKRUW
       GHVLJQDWLRQE\LWVHOIDQG  ZKHQWKHSODLQWLIIZDQWVWRSOD\LQLWVFDVHLQFKLHISRUWLRQV
       RIDYLGHRWDSHGGHSRVLWLRQRIa party opponent on cross-examinationWKHGHIHQGDQWPD\QRW
       IRUFHWKHSODLQWLIIWRSUHVHQWFRQFXUUHQWO\WKHGHIHQGDQW¶VRZQGHVLJQDWLRQV




       
         7KHUHZLOOEHDWRWDORIKRXUVIRUSUHVHQWDWLRQRIHYLGHQFHDVVXPLQJJHQHURXVO\WKDW
WKHUHDUHòKRXUVSHUGD\DYDLODEOHGXULQJDOOGD\VUHVHUYHGIRUHYLGHQFHSUHVHQWDWLRQ

                                                  
     Case: 1:17-md-02804 Doc #: 2594 Filed: 09/12/19 3 of 3. PageID #: 413660




      /LYH7HVWLPRQ\IURP'LVWDQW:LWQHVVHV3XUVXDQWWR)HG5&LY3WKH&RXUWZLOO
       DOORZ3ODLQWLIIVWRSURFXUHRQHOLYHVWUHDPDSSHDUDQFHRIDGLVWDQWZLWQHVVSHUGHIHQGDQWYLD
       UHPRWHYLGHRFRQQHFWLRQ H[FHSWIRUGHIHQGDQW&DUGLQDOZKLFKLVZLWKLQ3ODLQWLIIV¶VXESRHQD
       SRZHU 3ODLQWLIIVPXVWGHVLJQDWHE\6HSWHPEHUZKLFKVSHFLILFGLVWDQWZLWQHVVIRU
       HDFKGHIHQGDQWZLOOEHOLYHVWUHDPHG,IWKHGHIHQGDQWWKHQFKRRVHVWRSURGXFHWKLVGLVWDQW
       ZLWQHVVOLYHSODLQWLIIVGRQRWJHWWRFKRRVHDUHSODFHPHQWGLVWDQWZLWQHVV3UHVHQWDWLRQRI
       OLYHWHVWLPRQ\IURPDGLVWDQWZLWQHVVLVVXEMHFWWRWKH&RXUW¶VWHFKQRORJLFDOOLPLWDWLRQVDQG
       UHTXLUHPHQWVDQGWKHSDUWLHVVKDOOZRUNFORVHO\ZLWK6SHFLDO0DVWHU&RKHQDQGWKH&RXUW
       WRDGPLQLVWHUWKHSURFHVV

      $GPLVVLELOLW\7KH&RXUWZLOODGGUHVVDGPLVVLELOLW\RIH[KLELWVDWWKHHQGRIHDFKWULDOGD\

      $XWKHQWLFDWLRQ7KH&RXUWH[SHFWVWKHSDUWLHVZLOOVWLSXODWHWRDXWKHQWLFLW\RIDOOGRFXPHQWV
       SURGXFHGLQGLVFRYHU\XQOHVVWKHUHLVWUXO\DQLVVXHVXFKDVDOOHJHGIRUJHU\RUVHULRXVFKDLQ
       RIFXVWRG\TXHVWLRQV

      'HSRVLWLRQ'HVLJQDWLRQV7KHSDUWLHVVKDOOPHHWDQGFRQIHUZLWK6SHFLDO0DVWHU&RKHQ
       UHJDUGLQJWKHIRUPDWIRUVXEPLVVLRQWRWKH&RXUWRIGHSRVLWLRQGHVLJQDWLRQVDQGREMHFWLRQV

       ,7,66225'(5('


                                                       VDan Aaron Polster 
                                                       '$1$$52132/67(5
                                                       81,7('67$7(6',675,&7-8'*(

'DWHG6HSWHPEHU




       
         7KH&RXUWKDVUHYLHZHGWKHIROORZLQJVXEPLVVLRQVIURPWKHSDUWLHVWR6SHFLDO0DVWHU
&RKHQ RQ WKLV PDWWHU   HPDLO IURP 3HWHU :HLQEHUJHU -XQH      OHWWHU IURP .DVSDU
6WRIIHOPD\U -XO\ DQG  OHWWHUIURP3HWHU:HLQEHUJHU -XO\ 7KH&RXUWDJUHHV
ZLWKSODLQWLIIVWKDWIRUDOOWKHVDPHUHDVRQVDUWLFXODWHGE\0'/-XGJH5HEHFFD'RKHUW\LQIn re
Actos (Pioglitazone) Prod. Liab. Litig:/ :'/D-DQ LWLVDSSURSULDWH
XQGHU)HGHUDO5XOHRI&LYLO3URFHGXUH D WRDOORZSODLQWLIIVWRUHTXLUHWKHVHGLVWDQWZLWQHVVHVWR
WHVWLI\UHPRWHO\E\FRQWHPSRUDQHRXVWUDQVPLVVLRQ

                                                   
